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   IT IS ORDERED as set forth below:



   Date: January 9, 2023
                                                        _________________________________

                                                                 Barbara Ellis-Monro
                                                            U.S. Bankruptcy Court Judge

 ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        :          CASE NO. 22-56997-BEM
                                              :
TERRENCE GRIFFIN and                          :          CHAPTER 7
KIMBERLY GRIFFIN,                             :
                                              :
         Debtors.                             :
                                              :


             ORDER APPROVING SETTLEMENT AGREEMENT
   UNDER RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On November 30, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estates Terrence Griffin and Kimberly Griffin (collectively, the “Bankruptcy

Estate”), filed a Motion for Order Authorizing Settlement Under Rule 9019 of the Federal Rules

of Bankruptcy Procedure [Doc. No. 23] (the “Settlement Motion”), and related papers with the

Court, seeking an order, among other things, approving the Joint Stipulation and Settlement

Agreement (the “Settlement Agreement”) between Trustee and Renasant Bank (“Renasant,”

and together, the “Parties”).




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         The Settlement Agreement provides, inter alia, 1 that the Parties desire to settle all claims

and disputes between them and provide for the Trustee to proceed with a sale of the Property 2

pursuant to 11 U.S.C. § 363(b) and for the Bankruptcy Estate to receive a Carve-Out 3 from the

Net Sale Proceeds. 4 The exact terms of the Settlement Agreement are set forth in Exhibit “A” to

the Settlement Motion.

         Also on November 30, 2022, Trustee filed Notice of Trustee’s Motion for an Order

Approving Settlement Agreement Under Rule 9019 of the Federal Rules of Bankruptcy Procedure;

Deadline to Object; and for Hearing [Doc. No. 24] (the “Notice”) regarding the Settlement

Motion, in accordance with Second Amended and Restated General Order No. 24-2018. Counsel

for Trustee certifies that he served the Notice on all requisite parties in interest on November 30,

2022. [Doc. No. 25].

         The Notice provided notice of the opportunity to object whereupon a hearing would be

held on January 10, 2023 at 10:00 a.m., pursuant to the procedures set forth in Second Amended




1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
2
    The Property is defined in the Settlement Motion as that certain real property known generally
as 1895 Milfield Circle, Snellville, Gwinnett County, Georgia 30078.
3
    The Carve-Out is defined in the Settlement Motion. It provides that of the Net Sale Proceeds
that would otherwise be paid to Renasant, same will instead be allocated and paid fifty-five (55%)
percent to Renasant and forty-five (45%) percent to the Trustee on behalf of the Bankruptcy Estate
(the “Carve-Out”), with the allocation and payment made to the Trustee from the Carve-Out
reducing dollar for dollar the indebtedness owed Renasant.
4
         The Net Sale Proceeds is defined in the Settlement Motion as the gross sale proceeds, less
the first mortgage payoff, , any outstanding ad valorem real property taxes and the pro-rated share
of ad valorem real property taxes for 2022 (or current year at closing) and thereafter, any capital
gains taxes (none anticipated), any water and sewer liens, real estate commissions, any liens senior
to Renasant’s security deed, all routine closing costs and costs necessary to close the sale.


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and Restated General Order No. 24-2018. No one filed an objection to the Settlement Motion

prior to the objection deadline provided in the Notice.

         The Court having considered the Settlement Motion and all other matters of record,

including the lack of objection to the relief requested in the Settlement Motion, and, based on the

forgoing, finding that no further notice or hearing is necessary; and, the Court having found that

good cause exists to grant the relief requested in the Settlement Motion, it is hereby

         ORDERED that the Settlement Motion is GRANTED: the Settlement Agreement is

APPROVED and its terms are incorporated herein. It is further

         ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce this

Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii) enter

such other and further orders as may be necessary, just, or proper as an aid to enforcement or

implementation of this Order.

                                    [END OF DOCUMENT]



Order prepared and presented by:

TAYLOR ENGLISH DUMA LLP
Attorneys for Trustee

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Identification of entities to be served:

Office of the United States Trustee, 362 Richard B. Russell Federal Building, 75 Ted Turner Drive,
SW, Atlanta, GA 30303

Neil C. Gordon, Chapter 7 Trustee, Taylor English Duma LLP, 1600 Parkwood Circle, SE, Suite
200, Atlanta, GA 30339

S. Gregory Hays, Chapter 7 Trustee, Hays Financial Consulting, LLC, Suite 5555, 2964 Peachtree
Road, Atlanta, GA 30305

Renasant Bank, c/o Shayna M. Steinfeld, Steinfeld & Steinfeld, P.C., 11B Lenox Pointe, NE,
Atlanta, GA 30324

William A. Rountree, Rountree Leitman Klein & Greer, LLC, Century Plaza I, Suite 350, 2987
Clairmont Road, Atlanta, GA 30329

Terrence Griffin, 1895 Milfield Circle, Snellville, GA 30078

Kimberly Griffin, 1895 Milfield Circle, Snellville, GA 30078




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